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     D.C.P., Petitioner  v.  The People of the State of Colorado, Petitioner  In the Interest of Minor Child: G.D.D.,  and Concerning J.D.D. No. 25SC114Supreme Court of Colorado, En BancApril 14, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA1105
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    